Case 1:05-cv-00377-WDM-BNB Document 157-4 Filed 02/12/07 USDC Colorado Page 1 of 2
Carranza-Reyes v. Park County Vincent Markovchick, M.D.

COPY

UNITED STATES DISTRICT COURT oe A-45
FOR THE DISTRICT OF COLORADO

 

EXHIBIT

 

Case No. 05-CV-377-WDM-BNB

 

DEPOSITION OF: VINCE MARKOVCHICK, M.D.
April 11, 2006

 

“MOISES CARRANZA-REYES,
Plaintiff,
v.

PARK COUNTY, a public entity of the State of Colorado
and its governing board, THE PARK COUNTY BOARD OF
COUNTY COMMISSIONERS; PARK COUNTY SHERIFF'S OFFICE, a
public entity of. the State of Colorado; FRED WEGENER,
individually and in his official capacity as Sheriff
of Park County, Colorado; MONTE GORE, individually
and in his capacity as Captain of Park County Sheriff's
Department; VICKIE PAULSEN, individually and in her
official capacity as Registered Nurse for Park County,
Colorado; JAMES BACHMAN, M.D., individually and in
his official capacity as Medical Director of the

Park County Jail,

Defendants.

 

TAKEN PURSUANT TO NOTICE on behalf of the Defendant
__| Bachman at 660 Bannock Street, Denver, Colorado
80204 at 9:09 a.m. before Rebecca S. Tafoya,

Registered Professional Reporter and Notary Public

within cotoraco. Coptiat Key

303.893.0202
303°893,2230 Fax

 

 

 

 

* SUBJECT TO CONFIDENTIALITY DESIGNATIONS *

 
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patient left and final patient condition, were

2 those two filled cut by you?
3 A. tT believe those were filled out by Dr.
4 Mitchusson. And it looks like -- let me see. It
5 looks like we may have filled out -- or I may have
6 filled out the admit when he first arrived,
7 because -- and the reason I say that is because I
8 initially checked “serious.”
9 Q.. Um-hum.
10 A. That would have been when he was in the
Ht back -- when he was in the regular treatment room.
12 We clearly saw somebody who was very sick with
13 pneumonia who needed to go to the ICU but was not
14 deemed to be, you know, absolutely critical. And
15 then when he deteriorated, I clearly changed and
16 downgraded his condition from serious to critical
17 both on the -- I think I did that on the front
18 sheet as well as the admitting sheet, which is on
19 0058.
20 Q. So it's your opinion that you filled out
Hi the—oxder_for—admissien—_semetimebefore¢6:i0—p.m.—
22 and --
23 A It --
24 Q. -- and at that time you filied that out
25

 

initially, you felt the patient was very sick with

28

 

 

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